       Case 1:21-cr-00053-CJN        Document 41       Filed 09/27/21       Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :      Case No. 21-cr-00053 (CJN)
                                           :
              v.                           :
                                           :
EDWARD JACOB LANG                          :


                                    NOTICE OF FILING

      The government requests that the attached discovery letter, dated September 27, 2021, be
made part of the record in this case.

                                                  Respectfully submitted,

                                                  CHANNING D. PHILLIPS
                                                  Acting United States Attorney


                                            By:   _/s/ Melissa Jackson______________
                                                  Melissa Jackson
                                                  Assistant United States Attorney
                                                  United States Attorney’s Office
                                                  555 Fourth Street, N.W.
                                                  Washington, DC 20530
                                                  Phone: (202) 252-7786
                                                  Melissa.jackson@usdoj.gov
